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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION


 BILLY JOE McCLAIN,

       Petitioner,

              v.                                 Case No. 3:05-cv-1079-J-12HTS
                                                          3:88-cr-215-J-12

 UNITED STATES OF AMERICA,

        Respondent.



                                        ORDER

       This cause is before the Court on the Petitioner's "Motion to Vacate, Set Aside, or

 Correct Sentence Pursuant to §2255(3)" (Civ. Doc. 1, Crim Doc.1732), filed October 17,

 2005, as supplemented by Doc.6. The Respondent's motion to dismiss (Civ. Doc.8) was

filed on December 1, 2005.         The Petitioner filed a response (Civ. Doc.9) to the

 Respondent's motion on December 15,2005.

        The Petitioner asserts that the United States Supreme Court cases of United States

 v. Booker, 543 U.S. 220 (2005) and Blakelv v. Washinqton, 542 U.S. 296 (2004) are new

 rules of constitutional law made retroactive to cases on collateral review. As a result, he

 claims that he is due to be re-sentenced in accordance with those cases.

        The Court must grant the Respondent's motion to dismiss and dismiss the

 Petitioner's § 2255 motion without prejudice. The Court is without jurisdiction to consider

 it inasmuch as it is a successive motion' filed without first obtaining permission from the

        1
             This is the Petitioner's fourth § 2255 motion. See Crim. Docs. 1404, 1412,
 1652, 1655, 1705, and 1710.
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 Eleventh Circuit Court of Appeal. Moreover, the Eleventh Circuit has held that Booker and

 Blakelv do not qualify as new rules of constitutional law for s2255 purposes because the

 Supreme Court has not made them retroactively available on collateral review. In re

                                     Cir.2005)(addressing Booker), In re Dean, 375 F.3d
 Anderson, 396 F.3d 1336, 1339 ( I lth

 1287, 1290 (I
             lth
               Cir. 2004)(addressing Blakelv).

        The Court also notes that the Eleventh Circuit Court of Appeals has denied the

 Petitioner's request to file a successive s2255 motion raising BlakelvIBooker issues.

 Doc.1744. Accordingly, it is

        ORDERED AND ADJUDGED:

        1.     That the Respondent's motion to dismiss (Civ. Doc.8) is granted;

        2.     That the Petitioner's second § 2255 motion (Civ.Doc. I,Crim.Doc.1732) is

 dismissed without prejudice for failure to obtain permission from the Eleventh Circuit Court

 of Appeals, the civil case is dismissed without prejudice, and the Clerk is directed to enter

 judgment, close the civil case, and terminate the criminal motion.

        DONE AND ORDERED this           I ITM day of January 2006.




                                             d\&O?hrpfi    (*).         f'-hJm&
                                            SENIOR UNITED STATES DISTRICT JUDGE



 Copies to:
       AUSA (Ronca)
       Petitioner
